         Case 1:21-cv-00534-ZMF Document 20 Filed 07/27/21 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


     MALCOM MEDLEY,

                                  Plaintiff,
            v.
                                                      Civil Action No. 21-0534 (RC)
     CHARLOTTE A. BURROWS, CHAIR,
                                                      Date: July 27, 2021
     U.S. EQUAL EMPLOYMENT
     OPPORTUNITY COMMISSION,

                                  Defendant.


                                    [PROPOSED] ORDER

       Upon consideration of Motion to Withdraw an Appearance for Plaintiff Malcom Medley

and upon consideration of the record herein it is, by the Court, on this ______ day of

____________, 2021,

       ORDERED that the Motion is GRANTED.




                                                     _________________________________
                                                     United States District Court Judge




                                                1
